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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


NICOLE MAGANA, on behalf of herself and all                  Civil Case Number: _____________
others similarly situated,

                        Plaintiff(s),                                  CIVIL ACTION

                       -against-                            CLASS ACTION COMPLAINT
                                                           AND DEMAND FOR JURY TRIAL
AMCOL SYSTEMS, INC. and JOHN DOES 1-25,

                        Defendant(s).



        Plaintiff, NICOLE MAGANA, on behalf of herself and all others similarly situated

(hereinafter “Plaintiff”) by and through her undersigned attorney, alleges against the above-

named Defendants, AMCOL SYSTEMS, INC. ("AMCOL"), JOHN DOES 1-25 ("Defendants")

their employees, agents, and successors (collectively "Defendants") the following:

                                   PRELIMINARY STATEMENT

        1.      Plaintiff brings this action for damages and declaratory relief arising from the

Defendants' violation of 15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act

(hereinafter “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.

                                   JURISDICTION AND VENUE

        2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This is

an action for violations of 15 U.S.C. § 1692 et seq.

        3.      Venue is proper in this district under 28 U.S.C. §1391(b)(2) because the acts of

the Defendant that give rise to this action, occurred in substantial part, in this district.
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                                         DEFINITIONS

         4.    As used in reference to the FDCPA, the terms “creditor,” “consumer,” “debt,” and

“debt collector” are defined in § 803 of the FDCPA and 15 U.S.C. § 1692a.

                                            PARTIES

         5.    The FDCPA, 15 U.S.C. § 1692 et seq., which prohibits certain debt collection

practices provides for the initiation of court proceedings to enjoin violations of the FDCPA and

to secure such equitable relief as may be appropriate in each case.

         6.    Plaintiff is a natural person, a resident of Camden County, New Jersey, and is a

“Consumer” as defined by 15 U.S.C. § 1692a(3).

         7.    AMCOL maintains a location at 111 Lancewood Road, Columbia, South Carolina

29210.

         8.    Upon information and belief, AMCOL uses the mail, telephone, and facsimile and

regularly engages in business the principal purpose of which is to attempt to collect debts alleged

to be due another.

         9.    AMCOL is a “Debt Collector” as that term is defined by 15 U.S.C. § 1692(a)(6).

         10.   John Does 1-25, are fictitious names of individuals and business alleged for the

purpose of substituting names of defendants whose identities will be disclosed in discovery and

should be made parties to this action.



                              CLASS ACTION ALLEGATIONS

         11.   Plaintiff brings this action as a state wide class action, pursuant to Rule 23 of the

Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of herself and all New Jersey

consumers and their successors in interest (the “Class”), who were sent debt collection letters
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and/or notices from the Defendants, which are in violation of the FDCPA, as described in this

Complaint.

       12.      This Action is properly maintained as a class action. The Class is initially defined

as:

                   All New Jersey consumers who were sent letters and/or notices from AMCOL

                    concerning a debt owed to ATLANTICARE REGIONAL MEDICAL

                    CENTER, which contained the following statement: "If you need help with

                    this bill, or have questions, please contact our office where a representative is

                    on hand to assist you".

                   The class definition may be subsequently modified or refined.

                   The Class period begins one year to the filing of this Action.

       13.      The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

class action:

                   Upon information and belief, the Class is so numerous that joinder of all

                    members is impracticable because there may be hundreds and/or thousands of

                    persons who were sent debt collection letters and/or notices from the

                    Defendant that violate specific provisions of the FDCPA. Plaintiff is

                    complaining of a standard form letter and/or notice. (See Exhibit A, except

                    that the undersigned attorney has, in accordance with Fed. R. Civ. P. 5.2

                    redacted the financial account numbers and/or personal identifiers in an effort

                    to protect Plaintiff’s privacy);
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              There are questions of law and fact which are common to the Class and which

               predominate over questions affecting any individual Class member. These

               common questions of law and fact include, without limitation:

                  a.      Whether the Defendants violated various provisions of the FDCPA

                          including but not limited to:

                          15 U.S.C. §§ 1692g et seq., and 1692e et seq.

                  b.      Whether Plaintiff and the Class have been injured by the

                          Defendants' conduct;

                  c.      Whether Plaintiff and the Class have sustained damages and are

                          entitled to restitution as a result of Defendants' wrongdoing and if

                          so, what is the proper measure and appropriate statutory formula to

                          be applied in determining such damages and restitution; and

                  d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                          injunctive relief.

              Plaintiff’s claims are typical of the Class, which all arise from the same

               operative facts and are based on the same legal theories.

              Plaintiff has no interest adverse or antagonistic to the interest of the other

               members of the Class.

              Plaintiff will fairly and adequately protect the interest of the Class and has

               retained experienced and competent attorneys to represent the Class.

              A Class Action is superior to other methods for the fair and efficient

               adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

               difficulties are likely to be encountered in the management of this class action.
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                  A Class Action will permit large numbers of similarly situated persons to

                   prosecute their common claims in a single forum simultaneously and without

                   the duplication of effort and expense that numerous individual actions would

                   engender. Class treatment will also permit the adjudication of relatively small

                   claims by many Class members who could not otherwise afford to seek legal

                   redress for the wrongs complained of herein. Absent a Class Action, class

                   members will continue to suffer losses of statutory protected rights as well as

                   monetary damages. If Defendants' conduct is allowed to proceed without

                   remedy, it will continue to reap and retain the proceeds of their ill-gotten

                   gains.

                  Defendants have acted on grounds generally applicable to the entire Class,

                   thereby making appropriate final injunctive relief or corresponding

                   declaratory relief with respect to the Class as a whole.



                                   STATEMENT OF FACTS

       14.     Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

       15.     On or before December 6, 2016, Plaintiff allegedly incurred a financial obligation

to ATLANTICARE REGIONAL MEDICAL CENTER. (“ATLANTICARE REGIONAL

MEDICAL”).

       16.     The ATLANTICARE REGIONAL MEDICAL obligation arose out of a

transaction, in which money, property, insurance or services, which are the subject of the

transaction, are primarily for personal, family or household purposes.
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       17.     The ATLANTICARE REGIONAL MEDICAL obligation did not arise out of a

transaction that was for non-personal use.

       18.     The ATLANTICARE REGIONAL MEDICAL obligation did not arise out of a

transaction that was for business use.

       19.     The ATLANTICARE REGIONAL MEDICAL obligation is a "debt" as defined

by 15 U.S.C. § 1692a(5).

       20.     ATLANTICARE REGIONAL MEDICAL is a "creditor" as defined by 15 U.S.C.

§ 1692a(4).

       21.     On or before December 6, 2016, the ATLANTICARE REGIONAL MEDICAL

obligation was referred to AMCOL for the purpose of collection.

       22.     At the time the ATLANTICARE REGIONAL MEDICAL obligation was referred

to AMCOL the ATLANTICARE REGIONAL MEDICAL obligation was past due.

       23.     At the time the ATLANTICARE REGIONAL MEDICAL obligation was referred

to AMCOL the ATLANTICARE REGIONAL MEDICAL obligation was in default pursuant to

the terms of the agreement creating the obligation and/or by operation of law.

       24.     Defendants caused to be delivered to Plaintiff a letter dated December 6, 2016,

which was addressed to Plaintiff. A copy of said letter is annexed hereto as Exhibit A, which is

fully incorporated herein by reference.

       25.     The December 6, 2016 letter was sent to Plaintiff in connection with the

collection of the ATLANTICARE REGIONAL MEDICAL obligation.

       26.     The December 6, 2016 letter is a “communication” as defined by 15 U.S.C. §

1692a(2).
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        27.     The December 6, 2016 letter is the initial written communication sent from

Defendant to the Plaintiff.

        28.     Upon receipt, Plaintiff read the December 6, 2016 letter.

        29.     The December 6, 2016 letter contained the Defendant’s contact information at the

top right of the letter:

                                          AMCOL SYSTEMS
                                111 Lancewood Road Columbia SC 29210
                                         Phone: (803) 217-3800
                                        Toll Free: (800) 549-8500

        30.     The December 6, 2016 letter stated in part:

                Your account(s) have been placed with this agency for collection
                by Atlanticare Regional Medical Center. Payment in full is due. If
                you need help with this bill, or have questions, please contact
                our office where a representative is on hand to assist you.
                [emphasis added].


        31.     The December 6, 2016 letter also stated in part:

                Unless you notify this office within 30 days after receiving this
                notice that you dispute the validity of this debt or any portion
                thereof, this office will assume this debt is valid. If you notify this
                office in writing within 30 days from receiving this notice that you
                dispute the validity of this debt or any portion thereof, this office
                will obtain verification of the debt or obtain a copy of a judgment
                and mail you a copy of such judgment or verification.

        32.     In addition, the December 6, 2016 stated in part:

                You may qualify for the hospital’s financial assistance policy. To
                request additional information about the policy and application
                process, please call customer service at (800) 849-8500.

        33.     Section 1692g(a)(3)of the FDCPA requires to debt collector to:

                           Within five days after the initial communication with a
                           consumer in connection with the collection of any debt…
                           send the consumer a written notice containing ---
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                           (3) a statement that unless the consumer, within thirty
                           days after receipt of the notice, disputes the validity of
                           the debt, or any portion thereof, the debt will be assumed
                           to be valid by the debt collector.

        34.     A dispute of a debt, to be effective, in the Third Circuit, must be in writing.

Graziano v. Harrison, 950 F.2d 107, 112 (3d Cir. 1991). Caprio v. Healthcare Revenue

Recovery Group, 709 F.3d 142 (3d Cir. March 1, 2013).

        35.     AMCOL knew or should have known that its actions violated the FDCPA.

        36.     Defendants could have taken the steps necessary to bring their actions within

compliance with the FDCPA, but neglected to do so and failed to adequately review its actions to

ensure compliance with the law.

                            POLICIES AND PRACTICES COMPLAINED OF

        37.     It is Defendants' policy and practice to send written collection communications, in

the form annexed hereto as Exhibit A, which violate the FDCPA, by inter alia:

                (a)      Using false, deceptive or misleading representations or means in
                         connection with the collection of a debt; and

                (b)      Failing to provide the consumer with a proper notice pursuant to 15
                         U.S.C. §1692g(a)(3);

        38.     On information and belief, Defendants have sent written communications in the

form annexed hereto as Exhibit A, to at least 40 natural persons in the state of New Jersey with

one year of this Complaint.

                                                COUNT I

                      FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                  1692 et seq. VIOLATIONS

        39.     Plaintiff, on behalf of herself and others similarly situated, repeats and realleges all

prior allegations as if set forth at length herein.
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        40.     Collection letters and/or notices, such as those sent by Defendants, are to be

evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

        41.     The December 6, 2016 letter fails to properly inform the least sophisticated

consumer that to effectively dispute the alleged debt, such dispute must be in writing.

        42.     The least sophisticated consumer upon reading the December 6, 2016 letter would

be confused as to what he or she must do to effectively dispute the alleged debt.

        43.     The least sophisticated consumer wishing to dispute the alleged debt would be

confused as to what steps he or she should take to notify Defendants of his or her dispute.

        44.     The least sophisticated consumer upon reading the instructions in the December 6,

2016 letter would be misled into believing that if he or she wished to effectively dispute the

alleged debt or any portion thereof, because he or she questioned the amount of the debt, that he

or she may (1) notify Defendants by calling the toll free telephone number provided of (800)

217-3800 or (2) write to Defendants at the address listed on the letter.

        45.     Defendants' instructions in the December 6, 2016 letter would cause least

sophisticated consumer to be unsure as to what he or she must do to effectively dispute the

alleged debt.

        46.     A dispute of a debt, to be effective, in the Third Circuit, must be in writing.

Graziano v. Harrison, 950 F.2d 107, 112 (3d Cir. 1991). Caprio v. Healthcare Revenue Recovery

Group, 709 F.3d 142 (3d Cir. March 1, 2013).

        47.     Defendants violated 15 U.S.C. §1692g(a)(3) by failing to effectively inform

Plaintiff in the December 6, 2016 letter, what he or she must do in order to dispute the alleged

debt.
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        48.       Defendants violated 15 U.S.C. §1692e(10) by falsely representing and

misleading Plaintiff into believing that if she wished to dispute the alleged debt or any portion

thereof, because she questioned the amount of the debt, that she may (1) notify Defendants by

calling the toll free telephone number(s) provided of (800) 217-3800; or (2) write to Defendants

at the address listed in the letter.

        49.     The December 6, 2016 letter is misleading because the instructions can be read to

have two or more meaning, which one is inaccurate.

        50.     The December 6, 2016 letter can be read to mean that the least sophisticated

consumer may dispute the alleged debt by calling Defendants at the telephone number(s)

provided.

        51.     The December 6, 2016 letter can be read to mean that the least sophisticated

consumer may dispute the alleged debt by notifying Defendants in writing at the address

provided.

        52.     The December 6, 2016 letter can be read to mean that the least sophisticated

consumer may request verification of the alleged debt by calling Defendants at the telephone

number(s) provided.

        53.     The December 6, 2016 letter can be read to mean that the least sophisticated

consumer may request verification of the alleged debt by notifying Defendants in writing at the

address provided.

        54.     Congress enacted the FDCPA in part to eliminate abusive debt collection

practices by debt collectors.

        55.     Plaintiff and others similarly situated have a right to free from abusive debt

collection practices by debt collectors.
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       56.     Plaintiff and others similarly situated have a right to receive proper notices

mandated by the FDCPA.

       57.     Plaintiff and others similarly situated were sent letters, which would have affected

their decision-making with regard to the debt.

       58.     Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.

       59.     Plaintiff has suffered damages and other harm as a direct result of Defendants

actions, conduct, omissions and violations of the FDCPA described herein.

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)    Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and the attorney(s), Joseph K. Jones, Esq., as Class

Counsel;

               (b)    Awarding Plaintiff and the Class statutory damages;

               (c)    Awarding Plaintiff and the Class actual damages;

               (d)    Awarding pre-judgment interest;

               (e)    Awarding post-judgment interest.

               (f)    Awarding Plaintiff costs of this Action, including reasonable attorneys'

fees and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.
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Dated: November 8, 2017

                                             s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.
                                             JONES, WOLF & KAPASI, LLC
                                             375 Passaic Avenue
                                             Fairfield, New Jersey 07004
                                             (973) 227-5900 telephone
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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

                                             s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.


                        CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, Joseph K. Jones, the undersigned attorney of record for Plaintiff, do hereby certify to

my own knowledge and based upon information available to me at my office, the matter in

controversy is not the subject of any other action now pending in any court or in any arbitration

or administrative proceeding.

Dated: November 8, 2017
                                             /s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.
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                     Exhibit

                                  A
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